Case 2:04-cv-02141-.]DB-dkv Document 7 Filed 05/03/05 Page 1 of 2 Page|D 14

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MEMPHIS

 

VINCENT LEFFLER and JANIS
LEFFLER, Individually, and as
next niend of MADISON LEFFLER,

 

Plaintiffs,
v. NO.: 04-2141-BV

MEMPHIS ClTY SCHOOL BOARD
OF EDUCATION,

Defendant.

 

ORDER MODIFYING SCHEDULING ORDER

 

Upon the Motion to Extend the Dispositive Motion Deadline filed by the Board of
Education of the Memphis City Schools, and for good cause Shown, the scheduling order in this
cause is hereby modified as follows:

Dispositive Motions: May 6, 2005.

Response to Dispositive Motions: June 6, 2005.

The Court will send notices of any new dates for this cause, if needed.

IT IS SO ORDERED.

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l-Ion. Diane K. Vescovo
United States Magistrate Judge

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This notice confirms a copy of the document docketed as number 7 in
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Honorable J. Breen
US DISTRICT COURT

